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 4
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 5    MIRIAM MALDONADO
 6
 7                               UNITED STATES DISTRICT COURT
 8                              CENTRAL DISTRICT OF CALIFORNIA
 9
      MIRIAM MALDONADO,                                Case No.:
10
                   Plaintiff,                          COMPLAINT FOR INJUNCTIVE
11                                                     RELIEF AND DAMAGES FOR DENIAL
            vs.                                        OF CIVIL RIGHTS OF A DISABLED
12                                                     PERSON IN VIOLATIONS OF
13                                                     1. AMERICANS WITH DISABILITIES
                                                       ACT, 42 U.S.C. §12131 et seq.;
14    AFSHIN ARYA D/B/A A & A CARS; and
      DOES 1 to 10,                                    2. CALIFORNIA’S UNRUH CIVIL
15                                                     RIGHTS ACT;
                   Defendants.
16                                                     3. CALIFORNIA’S DISABLED
                                                       PERSONS ACT;
17
                                                       4. CALIFORNIA HEALTH & SAFETY
18                                                     CODE;
19                                                     5. NEGLIGENCE
20
21
22          Plaintiff MIRIAM MALDONADO (“Plaintiff”) complains of Defendants AFSHIN
23    ARYA D/B/A A & A CARS; and DOES 1 to 10 (“Defendants”) and alleges as follows:
24                                              PARTIES
25          1.     Plaintiff is a California resident with a physical disability. Plaintiff is
26    disabled due to bilateral above the knee amputation and is substantially limited in her
27    ability to walk. Plaintiff requires the use of a wheelchair at all times when traveling in
28    public.


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 1             2.   Defendants are, or were at the time of the incident, the real property owners,
 2    business operators, lessors and/or lessees of the real property for a used car dealer
 3    (“Business”) located at or about 300 S Gaffey St., San Pedro, California.
 4             3.   The true names and capacities, whether individual, corporate, associate or
 5    otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
 6    who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
 7    Court to amend this Complaint when the true names and capacities have been
 8    ascertained. Plaintiff is informed and believes, and, based thereon, alleges that each such
 9    fictitiously named Defendants are responsible in some manner, and therefore, liable to
10    Plaintiff for the acts herein alleged.
11             4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
12    times, each of the Defendants was the agent, employee, or alter-ego of each of the other
13    Defendants, and/or was acting in concert with each of the other Defendants, and in doing
14    the things alleged herein was acting with the knowledge and consent of the other
15    Defendants and within the course and scope of such agency or employment relationship.
16             5.   Whenever and wherever reference is made in this Complaint to any act or
17    failure to act by a defendant or Defendants, such allegations and references shall also be
18    deemed to mean the acts and failures to act of each Defendant acting individually, jointly
19    and severally.
20                                  JURISDICTION AND VENUE
21             6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
22    1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
23    seq.).
24             7.   Pursuant to pendant jurisdiction, attendant and related causes of action,
25    arising from the same nucleus of operating facts, are also brought under California law,
26    including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
27    54, 54., 54.3 and 55.
28             8.   Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.



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 1          9.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 2    property which is the subject of this action is located in this district, Los Angeles County,
 3    California, and that all actions complained of herein take place in this district.
 4                                      FACTUAL ALLEGATIONS
 5          10.    In or about February of 2025, Plaintiff went to the Business.
 6          11.    The Business is a used car dealer business establishment, open to the public,
 7    and is a place of public accommodation that affects commerce through its operation.
 8    Defendants provide parking spaces for customers.
 9          12.    While attempting to enter the Business during each visit, Plaintiff personally
10    encountered a number of barriers that interfered with her ability to use and enjoy the
11    goods, services, privileges, and accommodations offered at the Business.
12          13.    To the extent of Plaintiff’s personal knowledge, the barriers at the Business
13    included, but were not limited to, the following:
14                 a.     Defendants failed to comply with the federal and state standards for
15                        the parking space designated for persons with disabilities. Defendants
16                        failed to provide the parking space identification sign with the
17                        International Symbol of Accessibility.
18                 b.     Defendants failed to comply with the federal and state standards for
19                        the parking space designated for persons with disabilities. Defendants
20                        failed to post required signage such as “Van Accessible,” “Minimum
21                        Fine $250” and “Unauthorized Parking.”
22          14.    These barriers and conditions denied Plaintiff full and equal access to the
23    Business and caused Plaintiff difficulty and frustration. Plaintiff wishes to return and
24    patronize the Business; however, Plaintiff is deterred from visiting the Business because
25    her knowledge of these violations prevents her from returning until the barriers are
26    removed.
27          15.    Based on the violations, Plaintiff alleges, on information and belief, that
28    there are additional barriers to accessibility at the Business after further site inspection.



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 1    Plaintiff seeks to have all barriers related to her disability remedied. See Doran v. 7-
 2    Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
 3          16.    In addition, Plaintiff alleges, on information and belief, that Defendants
 4    knew that particular barriers render the Business inaccessible, violate state and federal
 5    law, and interfere with access for the physically disabled.
 6          17.    At all relevant times, Defendants had and still have control and dominion
 7    over the conditions at this location and had and still have the financial resources to
 8    remove these barriers without much difficulty or expenses to make the Business
 9    accessible to the physically disabled in compliance with ADDAG and Title 24
10    regulations. Defendants have not removed such barriers and have not modified the
11    Business to conform to accessibility regulations.
12                                      FIRST CAUSE OF ACTION
13           VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
14          18.    Plaintiff incorporates by reference each of the allegations in all prior
15    paragraphs in this complaint.
16          19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
17    shall be discriminated against on the basis of disability in the full and equal enjoyment of
18    the goods, services, facilities, privileges, advantages, or accommodations of any place of
19    public accommodation by any person who owns, leases, or leases to, or operates a place
20    of public accommodation. See 42 U.S.C. § 12182(a).
21          20.    Discrimination, inter alia, includes:
22                 a.     A failure to make reasonable modification in policies, practices, or
23                        procedures, when such modifications are necessary to afford such
24                        goods, services, facilities, privileges, advantages, or accommodations
25                        to individuals with disabilities, unless the entity can demonstrate that
26                        making such modifications would fundamentally alter the nature of
27                        such goods, services, facilities, privileges, advantages, or
28                        accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).



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 1               b.    A failure to take such steps as may be necessary to ensure that no
 2                     individual with a disability is excluded, denied services, segregated or
 3                     otherwise treated differently than other individuals because of the
 4                     absence of auxiliary aids and services, unless the entity can
 5                     demonstrate that taking such steps would fundamentally alter the
 6                     nature of the good, service, facility, privilege, advantage, or
 7                     accommodation being offered or would result in an undue burden. 42
 8                     U.S.C. § 12182(b)(2)(A)(iii).
 9               c.    A failure to remove architectural barriers, and communication barriers
10                     that are structural in nature, in existing facilities, and transportation
11                     barriers in existing vehicles and rail passenger cars used by an
12                     establishment for transporting individuals (not including barriers that
13                     can only be removed through the retrofitting of vehicles or rail
14                     passenger cars by the installation of a hydraulic or other lift), where
15                     such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
16               d.    A failure to make alterations in such a manner that, to the maximum
17                     extent feasible, the altered portions of the facility are readily
18                     accessible to and usable by individuals with disabilities, including
19                     individuals who use wheelchairs or to ensure that, to the maximum
20                     extent feasible, the path of travel to the altered area and the
21                     bathrooms, telephones, and drinking fountains serving the altered
22                     area, are readily accessible to and usable by individuals with
23                     disabilities where such alterations to the path or travel or the
24                     bathrooms, telephones, and drinking fountains serving the altered area
25                     are not disproportionate to the overall alterations in terms of cost and
26                     scope. 42 U.S.C. § 12183(a)(2).
27         21.   Where parking spaces are provided, accessible parking spaces shall be
28    provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every



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 1    eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
 2    (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
 3    Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
 4    be a van accessible parking space. 2010 ADA Standards § 208.2.4.
 5          22.    Under the ADA, the method and color of marking are to be addressed by
 6    State or local laws or regulations. See 36 C.F.R., Part 1191. Under the California
 7    Building Code (“CBC”), the parking space identification signs shall include the
 8    International Symbol of Accessibility. Parking identification signs shall be reflectorized
 9    with a minimum area of 70 square inches. Additional language or an additional sign
10    below the International Symbol of Accessibility shall state “Minimum Fine $250.” A
11    parking space identification sign shall be permanently posted immediately adjacent and
12    visible from each parking space, shall be located with its centerline a maximum of 12
13    inches from the centerline of the parking space and may be posted on a wall at the
14    interior end of the parking space. See CBC § 11B-502.6, et seq.
15          23.    Moreover, an additional sign shall be posted either in a conspicuous place at
16    each entrance to an off-street parking facility or immediately adjacent to on-site
17    accessible parking and visible from each parking space. The additional sign shall not be
18    less than 17 inches wide by 22 inches high. The additional sign shall clearly state in
19    letters with a minimum height of 1 inch the following: “Unauthorized vehicles parked in
20    designated accessible spaces not displaying distinguishing placards or special license
21    plates issued for persons with disabilities will be towed away at the owner’s expense…”
22    See CBC § 11B-502.8, et seq.
23          24.    Here, Defendants failed to provide the parking space identification sign with
24    the International Symbol of Accessibility. In addition, Defendants failed to provide the
25    signs stating, “Minimum Fine $250” and “Van Accessible.” Moreover, Defendants failed
26    to provide the additional sign with the specific language stating “Unauthorized vehicles
27    parked in designated accessible spaces not displaying distinguishing placards or special
28




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 1    license plates issued for persons with disabilities will be towed away at the owner’s
 2    expense…”
 3          25.      A public accommodation shall maintain in operable working condition those
 4    features of facilities and equipment that are required to be readily accessible to and usable
 5    by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a).
 6          26.      By failing to maintain the facility to be readily accessible and usable by
 7    Plaintiff, Defendants are in violation of Plaintiff’s rights under the ADA and its related
 8    regulations.
 9          27.      The Business has denied and continues to deny full and equal access to
10    Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
11    discriminated against due to the lack of accessible facilities, and therefore, seeks
12    injunctive relief to alter facilities to make such facilities readily accessible to and usable
13    by individuals with disabilities.
14                                  SECOND CAUSE OF ACTION
15                      VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
16          28.      Plaintiff incorporates by reference each of the allegations in all prior
17    paragraphs in this complaint.
18          29.      California Civil Code § 51 states, “All persons within the jurisdiction of this
19    state are free and equal, and no matter what their sex, race, color, religion, ancestry,
20    national origin, disability, medical condition, genetic information, marital status, sexual
21    orientation, citizenship, primary language, or immigration status are entitled to the full
22    and equal accommodations, advantages, facilities, privileges, or services in all business
23    establishments of every kind whatsoever.”
24          30.      California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
25    or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
26    for each and every offense for the actual damages, and any amount that may be
27    determined by a jury, or a court sitting without a jury, up to a maximum of three times the
28    amount of actual damage but in no case less than four thousand dollars ($4,000) and any



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 1    attorney’s fees that may be determined by the court in addition thereto, suffered by any
 2    person denied the rights provided in Section 51, 51.5, or 51.6.
 3          31.    California Civil Code § 51(f) specifies, “a violation of the right of any
 4    individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
 5    shall also constitute a violation of this section.”
 6          32.    The actions and omissions of Defendants alleged herein constitute a denial
 7    of full and equal accommodation, advantages, facilities, privileges, or services by
 8    physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
 9    Defendants have discriminated against Plaintiff in violation of California Civil Code §§
10    51 and 52.
11          33.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
12    difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
13    damages as specified in California Civil Code §55.56(a)-(c).
14                                   THIRD CAUSE OF ACTION
15                 VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
16          34.    Plaintiff incorporates by reference each of the allegations in all prior
17    paragraphs in this complaint.
18          35.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
19    entitled to full and equal access, as other members of the general public, to
20    accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
21    and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
22    railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
23    of transportation (whether private, public, franchised, licensed, contracted, or otherwise
24    provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
25    places of public accommodations, amusement, or resort, and other places in which the
26    general public is invited, subject only to the conditions and limitations established by
27    law, or state or federal regulation, and applicable alike to all persons.
28




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 1          36.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
 2    corporation who denies or interferes with admittance to or enjoyment of public facilities
 3    as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
 4    individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
 5    the actual damages, and any amount as may be determined by a jury, or a court sitting
 6    without a jury, up to a maximum of three times the amount of actual damages but in no
 7    case less than one thousand dollars ($1,000) and any attorney’s fees that may be
 8    determined by the court in addition thereto, suffered by any person denied the rights
 9    provided in Section 54, 54.1, and 54.2.
10          37.    California Civil Code § 54(d) specifies, “a violation of the right of an
11    individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
12    constitute a violation of this section, and nothing in this section shall be construed to limit
13    the access of any person in violation of that act.
14          38.    The actions and omissions of Defendants alleged herein constitute a denial
15    of full and equal accommodation, advantages, and facilities by physically disabled
16    persons within the meaning of California Civil Code § 54. Defendants have
17    discriminated against Plaintiff in violation of California Civil Code § 54.
18          39.    The violations of the California Disabled Persons Act caused Plaintiff to
19    experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
20    statutory damages as specified in California Civil Code §55.56(a)-(c).
21                                 FOURTH CAUSE OF ACTION
22                 CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.
23          40.    Plaintiff incorporates by reference each of the allegations in all prior
24    paragraphs in this complaint.
25          41.    Plaintiff and other similar physically disabled persons who require the use of
26    a wheelchair are unable to use public facilities on a “full and equal” basis unless each
27    such facility is in compliance with the provisions of California Health & Safety Code §
28




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 1   19955 et seq. Plaintiff is a member of the public whose rights are protected by the
 2   provisions of California Health & Safety Code § 19955 et seq.
 3          42.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
 4   that public accommodations or facilities constructed in this state with private funds
 5   adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
 6   Title 1 of the Government Code. The code relating to such public accommodations also
 7   requires that “when sanitary facilities are made available for the public, clients, or
 8   employees in these stations, centers, or buildings, they shall be made available for
 9   persons with disabilities.
10          43.    Title II of the ADA holds as a “general rule” that no individual shall be
11   discriminated against on the basis of disability in the full and equal enjoyment of goods
12   (or use), services, facilities, privileges, and accommodations offered by any person who
13   owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
14   Further, each and every violation of the ADA also constitutes a separate and distinct
15   violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
16   award of damages and injunctive relief pursuant to California law, including but not
17   limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
18                                   FIFTH CAUSE OF ACTION
19                                         NEGLIGENCE
20          44.    Plaintiff incorporates by reference each of the allegations in all prior
21   paragraphs in this complaint.
22          45.    Defendants have a general duty and a duty under the ADA, Unruh Civil
23   Rights Act and California Disabled Persons Act to provide safe and accessible facilities
24   to the Plaintiff.
25          46.    Defendants breached their duty of care by violating the provisions of ADA,
26   Unruh Civil Rights Act and California Disabled Persons Act.
27          47.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
28   has suffered damages.



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 1                                    PRAYER FOR RELIEF
 2         WHEREFORE, Plaintiff respectfully prays for relief and judgment against
 3   Defendants as follows:
 4         1.     For preliminary and permanent injunction directing Defendants to comply
 5   with the Americans with Disability Act and the Unruh Civil Rights Act;
 6         2.     Award of all appropriate damages, including but not limited to statutory
 7   damages, general damages and treble damages in amounts, according to proof;
 8         3.     Award of all reasonable restitution for Defendants’ unfair competition
 9   practices;
10         4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
11   action;
12         5.     Prejudgment interest pursuant to California Civil Code § 3291; and
13         6.     Such other and further relief as the Court deems just and proper.
14                              DEMAND FOR TRIAL BY JURY
15         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
16   demands a trial by jury on all issues so triable.
17
18   Dated: May 13, 2025                     SO. CAL. EQUAL ACCESS GROUP
19
20
21                                           By:    _/s/ Jason J. Kim___________
                                                    Jason J. Kim, Esq.
22                                                  Attorneys for Plaintiff
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